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                         IN THE UNITED STATES DISTRICT COURT
                          FOR THE EASTERN DISTRICT OF TEXAS
                                  MARSHALL DIVISION

WEATHERFORD TECHNOLOGY                              §
HOLDINGS, LLC, WEATHERFORD                          §
U.S., L.P.,                                         §
                                                    §
                  Plaintiffs,                       §
                                                    §
v.                                                  §   CIVIL ACTION NO. 2:17-CV-00456-JRG
                                                    §
TESCO OFFSHORE SERVICES, INC.,                      §
TESCO OFFSHORE SERVICES LLC,                        §
                                                    §
                  Defendants.                       §


                                     ORDER OF DISMISSAL
 .
          Before the Court is the parties’ Joint Motion to Dismiss. (Dkt. No. 214). Having considered

the Joint Motion, the Court is of the opinion that it should be and hereby is GRANTED.

Accordingly, the Court ORDERS that all claims and counterclaims in the above-styled action are

DISMISSED WITH PREJUDICE. It is further ORDERED that no party may seek or recover

attorney’s fees or costs from any other party. The Clerk is directed to CLOSE the above-styled

action.
      SIGNED this 19th day of December, 2011.
     So ORDERED and SIGNED this 1st day of April, 2019.




                                                         ____________________________________
                                                         RODNEY GILSTRAP
                                                         UNITED STATES DISTRICT JUDGE
